          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                         CRIMINAL NO. 1:05CR32


UNITED STATES OF AMERICA                   )
                                           )
                                           )
                  VS.                      )            ORDER
                                           )
                                           )
VICTOR GUADARRAMA FLORES                   )
                                           )


      THIS MATTER is before the Court on the Defendant’s motion for

review of the Magistrate Judge’s Order of detention.

      Title 18 U.S.C. § 3145 provides in pertinent part that “[i]f a person is

ordered detained by a magistrate judge, or by a person other than a judge

of a court having original jurisdiction over the offense . . . , the person may

file, with the court having original jurisdiction over the offense, a motion for

revocation or amendment of the order.” The Court, in reviewing that order,

conducts a de novo review and must make an independent determination

of the appropriateness of pretrial detention or conditions of release.

United States v. Stewart, 19 F. App’x 46 (4th Cir. 2001).




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      On April 4, 2005, the Defendant was indicted along with a co-

defendant with armed bank robbery and using and carrying a firearm

during a crime of violence, in violation of 18 U.S.C. §§ 2113(a), 2113(d)

and 924(c)(1)(A)(ii). Bill of Indictment, filed April 4, 2004. Both statutes

charge an offense involving a crime of violence and, therefore, are crimes

of violence. 18 U.S.C. § 924(c)(3). Thus, it is “presumed that no condition

or combination of conditions will reasonably assure the appearance of the

person as required and the safety of the community,” subject to rebuttal by

the Defendant. 18 U.S.C. § 3142(e).

      The Magistrate Judge noted that the Defendant has provided a

statement to the authorities in which he admitted his involvement in armed

bank robbery. Although he is legally within the United States, if he is

convicted, he will be deported to his native Mexico. His status as a citizen

of another country poses the possibility that he may flee the jurisdiction if

released. In support of his position that he should be released, the

Defendant merely notes that he was indicted for the bank robbery in 2005

but was not arrested until February 2007. During this time, he argues, he

lived and worked in the community without incident.




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      The undersigned agrees with the Magistrate Judge that no condition

or combination of conditions will reasonably assure the appearance of the

Defendant and the safety of any other person and the community.

Detention may be based on a showing of either dangerousness or risk of

flight, both are not required. United States v. Rueben, 974 F.2d 580, 586

(5th Cir. 1992). The Defendant argues that his presence in the community

after the bank robbery is evidence to rebut the presumption in favor of

detention; however, the mere production of evidence does not completely

rebut the presumption. Id. The Court finds that there are significant risks

that the Defendant will not appear at trial if he is released. He is not a

citizen of the United States and, if convicted, he faces deportation. That is

a significant reason to flee.

      Nor does the Court find that the Defendant would not be a threat to

the community. During the crime at issue, he is charged with having used

and carried a firearm. There are few crimes more dangerous to the

community than armed bank robbery.

      IT IS, THEREFORE, ORDERED that the Defendant’s appeal is

DENIED, and the Magistrate Judge’s Order of detention is AFFIRMED.

The Defendant shall remain in custody pending further proceedings herein.



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                              Signed: March 13, 2007




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